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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 UNITED STATES OF AMERICA
                                                    No. 15 CR 447
               v.
                                                   Judge Robert W. Gettleman
 MANUEAL ARAGON-CONTRERAS,
 et al.



       Upon the unopposed motion of the government, pursuant to Federal Rule of

 Criminal Procedure 16(d), it is hereby ORDERED:

       1.      All of the materials provided by the United States to defendants
EDUARDO FRANCO, JOSE DAVILA, RAFAEL COLIAZO, BRIAN RIOS, ANd

JULIO ANDRADE, in preparation for, or in connection with, any stage of the

proceedings in this case (collectively, "the materials") are subject to
                                                                          this protective
order and may be used by defendants and defendants'counsel (defined as counsel
                                                                                       of
record in this case) solely in connection with the defense of this case, and for
                                                                                      no

other purpose, and in connection with no other proceeding, without further order
                                                                                       of
this Court.r

       2'      Defendants and defendants'counsel shall not disclose the materials or

their contents directly or indirectly to any person or entity other than persons
employed to assist in the defense, persons who are interviewed as potential

witnesses, counsel for potential witnesses, and other persons to whom the
                                                                                  Court


' Th" Court has previously entered similar protective orders as to defendants MANUEL
ARAGON-CONTRERAS and CESAR CARRILLO. Those previous orders
govern the handling of discovery as to ARAGON-CONTRERAS
                                                                        will continue to
                                                             and GARRILLO.
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 may authorrze disclosure (collectively, "authorized persons"). Potential witnesses

 and their counsel may be shown copies of the materials as necessary to prepare the

 defense, but may not retain copies without prior permission of the Court. The

 materials and their contents shall not be disclosed either directly or indirectly to

 any person or entity outside of the United States without prior authorization from

the Court.

       3.     Certain materials disclosed or to be disclosed by the government
contain particularly sensitive information. These materials shall be plainly marked

as "SENSITM" by the government prior to disclosure. No such materials, or the

information contained therein, may be disclosed to any persons other than

defendants, counsel for defendants, persons employed to assist the defense, or the

person to whom the sensitive information solely and directly pertains,
                                                                         without prior
notice to the government and authorization from the Court. Absent prior permission

from the Court, information marked as sensitive shall not be included in any public

filing with the Court, and instead shall be submitted under seal (except in the case

of a defendant who chooses to include in a public document sensitive information

relating solely and directly to the defendant making the filing).

       4.    Defendants, defendants' counsel, and authorized.persons shall not copy

or reproduce the materials except in order to provide copies of the materials for use

in connection with this case by defendants, defendants' counsel, and authorized
persons. Such copies and reproductions shall be treated in the same
                                                                      manner as the
original materials.
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       5.     Defendants, defendants' counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents

of the materials, other than to authorized persons, and all such notes or records are

to be treated in the same manner as the original materiars.

       6.     Before providing materials to an authorized person, defense counsel

must provide the authorizedperson with a copy of this order.

       7.     Upon conclusion of all stages of this case, all of the materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The materials may be (1) destroyed; (2) returned to the

United States; or (3) retained in defense counsel's case file. The Court may require a

certification as to the disposition of any such materials. In the event that the

materials are retained by defense counsel, the restrictions of this Order continue in

effect for as long as the materials are so maintained, and the materials may not be

disseminated or used in connection with any other matter without further order of

the Court.

      8.     To the extent any material is produced by the United States to
defendants or defendants' counsel by mistake, the United States shall have the

right to request the return of the material and shall do so in writing. Within five
days of the receipt of such a request, defendants and/or defendants' counsel shall

return all such material if in hard copy, and in the case of electronic materials, shall

certify in writing that all copies of the specified material have been deleted from

any location in which the material was stored.
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       9.     The restrictions set forth in this Order do not apply to documents that

are or become part of the public court record, including documents that have been

received in evidence at other trials, nor do the restrictions in this Order limit

defense counsel in the use of discovery materials in judicial proceedings in this case,

except that any document filed by any party which attaches or otherwise discloses

specially identified sensitive information as described in Paragraph 3, above, shall

be filed under seal to the extent necessary to protect such information, absent prior

permission from this Court.

       10. Nothing contained in this Order shall preclude any party from
applying to this Court for further relief or for modification of any provision hereof.

                                               ENTER:


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                                               ROBERT W. GETTLEMAN
                                               District Judge
                                               United States District Court
                                               Northern District of Illinois
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